Case 1:20-cv-00484-RDA-IDD Document 407-5 Filed 10/22/21 Page 1 of 8 PageID# 13276




                          Exhibit E

                Confidential
              Filed Under Seal
Case 1:20-cv-00484-RDA-IDD Document 407-5 Filed 10/22/21 Page 2 of 8 PageID# 13277
Case 1:20-cv-00484-RDA-IDD Document 407-5 Filed 10/22/21 Page 3 of 8 PageID# 13278
Case 1:20-cv-00484-RDA-IDD Document 407-5 Filed 10/22/21 Page 4 of 8 PageID# 13279
Case 1:20-cv-00484-RDA-IDD Document 407-5 Filed 10/22/21 Page 5 of 8 PageID# 13280
Case 1:20-cv-00484-RDA-IDD Document 407-5 Filed 10/22/21 Page 6 of 8 PageID# 13281
Case 1:20-cv-00484-RDA-IDD Document 407-5 Filed 10/22/21 Page 7 of 8 PageID# 13282
Case 1:20-cv-00484-RDA-IDD Document 407-5 Filed 10/22/21 Page 8 of 8 PageID# 13283
